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                          UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF SOUTH CAROLINA


                                                C/A No. 15-05030-jw
IN RE:
                                                Chapter 13
James Edward Davis
Brenda Jean Davis,                              Motion to Enforce Order
                                                Requiring Loss Mitigation
                               Debtor(s).


         Debtors, through their attorney, respectfully file this motion for enforcement of the Order
requiring Shellpoint Mortgage (hereinafter “creditor”) to process a loan modification via the
DMM Portal. In support of the motion, Debtors submit as follows:
         1.     Debtors’ attorney filed a Notice and Motion for Loss Mitigation/Mediation
November 20, 2015. No objections were filed to the motion and an Order Granting Loss
Mitigation/Mediation was entered.
         4.     Debtors uploaded all documents on the DMM Portal December 04, 2015.
         5.     On December 15, 2015 the creditor opened the file.
         6.     On February 18, 2016, the creditor provided an incomplete document notice.
Debtors’ attorney submitted requested information on March 10, 2016. This process continued
until June 22, 2016, when creditor sent notice that the documents were complete.
         7.     On March 11, 2016, a status hearing was held and Debtors were told that the file
was with the underwriters for a review for a loan modification.
         8.     On June 29, 2016, the loan was denied for a loan modification. According to the
denial letter, debtor is ineligible because investor has not given contractual authority to modify
the loan under any programs. Apparently the loan was never actually reviewed for modification
due the lack of authority.
         9.     Debtors question the denial based upon a lack of authority because, if that were
the actual reason, there would have been no justification to put the Debtors through all of the
work and delays over the past 7 months.




         WHEREFORE, pursuant to 11 USC 105, Debtors pray that this Honorable Court require
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that Shellpoint process the loan modification via the DMM Portal and properly review the loan.
Debtors’ attorney also asks for attorney fees and sanctions due to creditor’s failure to properly
process a loan modification on the DMM Portal.

                                            Respectfully submitted.
                                            /s/Eric S. Reed
                                            Eric S. Reed, Fed. I.D. No. 7242
                                            220 Stoneridge Drive, Suite 301
                                            Columbia, South Carolina 29210
                                            (803) 726-4888
                                            Attorney for the Debtor
Columbia, South Carolina
July 6, 2016
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                                UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF SOUTH CAROLINA


                                                    C/A No. 15-05030-jw
       IN RE:
                                                    Chapter 13
       James Edward Davis
       Brenda Jean Davis,

                                     Debtor(s).


                                        CERTIFICATE OF SERVICE

                I, the undersigned, do hereby certify that on today=s date, I served, on the attached

       mailing matrix, by First Class Mail, postage prepaid, Debtors’ Motion To Enforce Order

       Requiring Loss Mitigation.

       Riley, Pope and Laney, LLC
       PO Box 11412
       Columbia, SC 29211

       Shellpoint Mortgage Servicing,
       PO Box 10826
       Greenville, SC 29603



                                                   REED LAW FIRM, P.A.


                                                   /s/ Tracy Burns
                                                   Tracy Burns
                                                   Paralegal
                                                   220 Stoneridge Drive, Suite 301
                                                   Columbia, South Carolina 29210
                                                   (803) 726-4888

Columbia, South Carolina

July 6, 2016
